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             IN THE UNITED STATES DISTRICT COURT
                EASTERN DISTRICT OF ARKANSAS
                      WESTERN DIVISION


UNITED STATES OF AMERICA                                      PLAINTIFF

v.                        No. 4:12-cr-246-DPM-11

ENOCGARCIA                                                  DEFENDANT


                                  ORDER

     The United States' unopposed motion, Ng 470, is granted. FED. R. CRIM.

P. 48(a). The indictment, Ng 3, is dismissed without prejudice as to Enoc

Garcia. His bond is discharged.

     So Ordered.



                                        D.~·
                                        United States District Judge

                                          /0 f/wJe. JO/?
                                             (/         -
